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                       CITY OF NEW ORLEANS - PROJECT STATUS REPORT
                       OJC - MEDICAL SERVICES BUILDING PHASE III
                       HILL PROJECT NO. PTX-02349.00
                       SEPTEMBER 15, 2022




I.    PROJECT STATUS

      PHASE III CONSTRUCTION DOCUMENTS
      The City’s Department of Safety and Permits is continuing to review the 100% plans submitted
      to their office. Grace Hebert Curtis Architects (GHC) has been coordinating with consultants to
      review all documents and specifications for bidding. CNO and GHC are scheduled to meet on
      September 21, 2022, to verify bidding documents and conditional use requirements.

      The City’s Law Department is working with Safety and Permits to secure construction permits.

      The permitted plans will be available for the issuance of building permits when the contractor
      is selected and contracted, and the construction notice to proceed is issued to begin
      construction.

      FEMA 106 REVIEW
      The City submitted the EA Report to FEMA on July 29, 2022. On Tuesday August 16, 2022
      FEMA approved the EA Report and authorized the City to move forward with publication of the
      FONSI (Finding of No Significant Impact). Publishing began August 22, 2022 and ran through
      August 30, 2022. The EA Report was placed in six (6) public libraries and City Hall for public
      viewing. The public viewing period is currently in progress and will end September 30, 2022
      (30-day duration). After the public viewing period, FEMA and the City will review any
      comments. The City will respond as directed by FEMA and await FEMA’s final approval and
      issuance of notice to proceed into the Bid and Award Phase.

      PROJECT FUNDING
      The ordinance to appropriate an additional $30 Million to the project was approved by Council
      on August 4, 2022, and subsequently signed by the Mayor.

II.   MILESTONES

      1. 30-DAY MILESTONES (COMPLETED)

          a. FEMA authorized publication of the NOA, draft EA and FONSI – August 16, 2022

          b. Status Conference was held with U.S. Magistrate Judge North to respond to his
             questions regarding meetings – August 18, 2022

          c.   City published the NOA for public viewing of the draft EA and FONSI – August 22-30,
               2022


      2. ACTIVITIES CURRENTLY IN PROGRESS
          a. City Department of Safety and Permits review of 100% Plans.

          b. 30-day public comment period regarding the draft EA and FONSI began August 30,
             2022, and ends September 30, 2022.
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     3. MILESTONES (FUTURE)
        a. Monthly Executive Stakeholder Group (EG) meetings with OPSO, Federal Monitors,
           Department of Justice, Plaintiffs, and the Medical Provider – September 21, 2022

        b. Based on date provided by FEMA on the July 5, 2022, e-mail (previously submitted),
           Final approval of NEPA report/Release of FEMA Funds – September 30, 2022
           (Depending on FEMA’s timeline for Final document approval).

        c.   Assemble Bid Package and Submit to Procurement – October 7, 2022

        d. Begin Procurement Phase – October 10, 2022

        e. Bid Opening – November 10, 2022

        f.   Complete Procurement Phase/Issue Construction Notice to Proceed (NTP) – January
             10, 2023

        g. Complete Construction Phase – January 10, 2025 (Estimated duration from the
           Architect is 24 months from the issuance of the Construction NTP)

        h. Project Closeout and Turnover for Occupancy – March 10, 2025 (Estimated duration
           is 60 days after the completion of construction)
